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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY,                                       :
                         Plaintiff,               :
                 v.                               :       Civ. No. 17-4740
                                                  :
BUSTLETON ENTERPRISES, LLC,                       :
              Defendant.                          :

                                             ORDER

            AND NOW, this 28th day of February, 2018, it having been reported that the issues

between the parties in the above action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

            ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement

of counsel without costs.




                                       KATE BARKMAN, Clerk of Court

                                              /s/ Richard C. Thieme
                                       BY:
                                              Richard C. Thieme
                                              Deputy Clerk




Civ 2 (8/2000)
41(b).frm
